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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ASHLEY N AUMILLER,                                   :      CIVIL ACTION
          Plaintiff,                                 :
                                                     :
        v.                                           :      No.: 16-cv-5881
                                                     :
EXPERIAN INFORMATION SOLUTIONS,                      :
INC.,                                                :
          Defendant.                                 :


                                            ORDER


        AND NOW, TO WIT: This              8TH      day of May, 2017, it having been reported

that the issues between the parties in the above action have been settled and upon Order of the

Court pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of the

Court, it is

        ORDERED that the above action is DISMISSED with prejudice, pursuant to agreement

of counsel without costs.

                                             BY THE COURT:



                                                /s/ Lynne A. Sitarski
                                             LYNNE A. SITARSKI
                                             UNITED STATES MAGISTRATE JUDGE
